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Exhibit 2

New First Lien Notes Term Sheet
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Borrowers:

New First Lien
Notes:

Guarantors:
Agent:

Lenders:

Maturity Date:

Purpose:

Security:

Interest Rate:

WEST 6371746 v11

EXHIBIT 2

Summary of Terms and Conditions (“Term Sheet”) for

$50 Million New First Lien Notes (“New First Lien Notes”)

TERMS

Newco, Heritage Land Company, LLC; The Rhodes Companies, LLC; Rhodes
Ranch General Partnership; Tick, LP; Glynda, LP; Chalkline, LP; Batcave, LP;
Jackknife, LP; Wallboard, LP; Overflow, LP; Rhodes Ranch Golf and Country
Club; Tuscany Acquisitions, LLC; Tuscany Acquisitions II, LLC; Tuscany
Acquisitions III, LLC; Tuscany Acquisitions IV, LLC; Parcel 20 LLC; Rhodes
Design and Development Corp.; C&J Holdings, Inc.; Rhodes Realty, Inc.; Jarupa
LLC; Elkhorn Investments, Inc.; Rhodes Homes Arizona, LLC; Rhodes Arizona
Properties, LLC; Tribes Holdings LLC; Six Feathers Holdings, LLC; Elkhorn
Partners, A Nevada Limited Partnership; Bravo Inc.; Gung-Ho Concrete, LLC;
Geronimo Plumbing, LLC; Apache Framing, LLC; Tuscany Golf Country Club,
LLC; and Pinnacle Grading, LLC, each as may be reorganized pursuant to a joint
plan of reorganization to be proposed by the First Lien Steering Committee.

$50 million in first lien secured notes. Once repaid, the New First Lien Notes
may not be reborrowed.

All of the Borrowers.
To be determined (“Agent’’).

The lenders (“Lenders”) under the first lien Credit Agreement dated as of
November 21, 2005 (as may have been amended from time to time) among
Heritage Land Company, LLC, The Rhodes Companies, LLC, and Rhodes Ranch
General Partnership, as the Borrowers, the Lenders Listed Therein as Lenders,
and Credit Suisse, Cayman Islands Branch, as Administrative Agent, Collateral
Agent, Syndication Agent, Sole Bookrunner and Sole Lead Arranger, and the
other loan documents (as defined in the First Lien Credit Agreement) (as may
have been amended from time to time, the “Existing Credit Facility”).

The date that is the sixth anniversary of the Effective Date (“Maturity Date”).

To refinance a portion of the Existing Credit Facility and satisfy a portion of the
Lenders’ claims under the Existing Credit Facility.

The New First Lien Notes and all guarantees thereof will be secured by first
priority perfected liens on substantially all existing and after acquired property of
the Borrowers.

“Cash Pay Rate”: LIBOR plus 2.00% per annum; or
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Interest Payments:

Mandatory
Prepayments:

Covenants:

Senior Revolving
Loan and Letter of
Credit Facility:

Events of Default:

“PIK Rate”: LIBOR plus 5.00% per annum.

Interest on the New First Lien Notes shall be payable in Cash quarterly in arrears
at the Cash pay rate of LIBOR +2%; provided that if the average of the
Reorganized Debtors’ unrestricted consolidated Cash as of the last day of each of
the two immediately preceding consecutive quarters is less than $15 million or if
the unrestricted consolidated Cash as of the last day of the immediately preceding
quarter is less than $15 million (collectively, the “Cash Interest Threshold”), then
the Reorganized Debtors shall have the option to capitalize the amount of interest
due in excess of LIBOR for the immediately preceding quarter, with such
capitalized interest to be capitalized on such interest payment date, and all such
capitalized interest shall be due on the next interest payment date to the extent the
Cash Interest Threshold is met after giving effect to the payment of interest and
capitalized interest or as the Reorganized Debtors otherwise elect. All capitalized
interest not previously paid shall be paid on the Maturity Date. LIBOR shall be
subject to a cap of 2%.

Mandatory prepayments of principal shall be made by the Reorganized Debtors if
the average of the Reorganized Debtors’ unrestricted consolidated Cash as of the
last day of each of the two immediately preceding consecutive quarters is greater
than $15 million or if the unrestricted consolidated Cash as of the last day of the
immediately preceding quarter is greater than $15 million, in each case, after the
payment of interest due on the New First Lien Notes.

Customary affirmative and negative covenants for facilities of this type, including
but not limited to financial covenants and covenants limiting other indebtedness,
off-balance sheet financing, liens, investments, guaranties, restricted junior
payments (dividends, redemptions, and payments on subordinated debt), mergers
and acquisitions, sales of assets, capital expenditures, transactions with affiliates
and conduct of business, subject to exceptions and baskets to be mutually agreed
by the parties.

The New First Lien Notes shall contain provisions permitting the Borrowers to
incur up to $10 million in secured indebtedness senior to the New First Lien
Notes in the form of a working capital revolving loan and letter of credit facility,
subject to the satisfaction of the terms and conditions set forth in the New First
Lien Notes Documentation.

Customary for facilities of this type, including but not limited to failure to make
payments when due, defaults under other agreements or instruments of
indebtedness, noncompliance with covenants, breaches of representations and
warranties, bankruptcy, judgments, invalidity of guaranties, impairment of
security interests, and change of ownership.
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Other Terms:

Documentation:

The New First lien Notes shall include without limitation a default rate of interest,
optional, increased costs or reduced returns, conditions precedent to closing,
representations and warranties, assignments/participations, amendment, waiver,
and required lender provisions, in each case, customary for facilities of this type.

The New First Lien Notes Documentation shall be in form and substance
acceptable to the First Lien Steering Committee.
